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 The relief described hereinbelow is SO ORDERED.

 Signed April 13, 2021.


                                                       __________________________________
                                                                    Ronald B. King
                                                         Chief United States Bankruptcy Judge




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

  IN RE:                                           §
                                                   §
  CQ RESTAURANTS LLC DBA PLANET SUB,               §           CASE NO. 21-50426-RBK
                                                   §
                   DEBTOR.                         §           CHAPTER 7

                                     ORDER CONVERTING CASE

           On this day came on to be considered the Debtor’s Motion to Convert to Chapter 7

  (ECF No. 5), and it appears to the Court that the Motion should be granted in part and that this

  case should be converted from Chapter 11 to Chapter 7. It further appears to the Court that Motion

  should be denied in part as to Debtor’s request for a refund of Debtor’s Chapter 11 filing fees.

           It is, therefore, ORDERED, ADJUDGED, AND DECREED that the above-referenced case is

  hereby CONVERTED from Chapter 11 to Chapter 7.

           It is further ORDERED, ADJUDGED, AND DECREED that the Debtor must submit payment
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  of the $15.00 fee for conversion from Chapter 11 to Chapter 7 within three (3) days of the entry

  of this Order.

         It is further ORDERED, ADJUDGED, AND DECREED that Debtor’s request for a refund of

  Debtor’s Chapter 11 filing fees is hereby DENIED.

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